             Case 4:06-cr-40026-JPG                       Document 68     Filed 01/19/07             Page 1 of 6      Page ID #140
% A 0 2458    (Rcv. 06/05) Judgmcnt i n a Criminal Case
              Sheet 1




                        SOUTHERN                                    District of                                ILLINOIS

         UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE
                              v.
                    TAD W. ABSHER
                                                                          Case Number:            4:06CR40026-001 -JPG

                                                                          USM Number: 06852-025
                                                                            Grant J. Shostak
                                                                           Defendant's Attorney
THE DEFENDANT:
Qpleaded guilty to count(s)           1 of the Indictment
   pleaded nolo contendere to count(s)
   which was accepted by the cou~t.
   was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                    Nature of Offense                                                       Offense Ended              Count


                                    & t o Distribute over 500 Grams of Methamphetamine



       The defendant is sentenced as provided in pages 2 through               10         of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
[7 The defendant has been found not guilty on count(s)
   Count(s)                                                    is   CI are dismissed on the motion of the United States.




                                                                            J. Phil Gilbert                            District Judge
                                                                                                                     Tttle of Judgc
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 n -2 4 ~-
A~.     iR      lllev. 061051, Judemrnt in Criminal Case
                Sheet 2 I m p r i s o n m e n t
                                                                                                             J u d g m e n t Page   2
                                                                                                                                    - of        10
 DEFENDANT: TAD W. ABSHER
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                                                                    IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to he imprisoned for a
 total term of:

  121 months on Count 1 of the Indictment.




           The court makes the following recommendations to the Bureau of Prisons:




             The defendant is remanded to the custody of the Un~tedStates Marshal

   $I        The defendant shall surrender to the United States Marshal for this district:

                   at                                        a.m.         p.m.     on
             @ as notified by the United States Marshal.
      IJ   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                   before 2 p.m. on

                   as notified by the United States Marshal.

                   as notified by the Probation or Pretrial Services Office.



                                                                         RETURN
 I have executed this judgment as follows:




             Defendant delivered on                                                             to

 at                                                         , with a certified copy of this judgment.



                                                                                                          UNITE11 S I A I ' E S M A R S H A L
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A 0 245B     (Rev. 06!05) Judgment 117 a Crlminal Case
             Sheet 3 - Supenrised Release
                                                                                                           Judgment Page      ?     of          in
 DEFENDANT: TAD W. ABSHER
 C A S E N U M B E R : 4:06CR40026-001-JPG
                                                           SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term o f :

  5 y e a r s on Count 1 of t h e Indictment



      The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Pnsons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfull possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall suxmit to one drug test within 15 days of release from imprisonment and at least two periodic dmg tests
 thereafter, as determ~nedby the court.
        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
        student, as directed by the probation officer. (Check, if applicable.)
        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
     If this udgment imposes a fine or restitution, it is a condition of supelvised release that the defendant pay in accordance with the
 Schedule otJpayments sheet of this judgment.
      The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                            STANDARD CONDITIONS OF SUPERVISION
   1)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
           each month;
   3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)      the defendant shall support his or her dependents and meet other family responsibilities;
   5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
   6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;



   8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)      the defendant shall not associate with any persons en aged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted pemuss~onto do so by the protation officer;
  10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observed in plain view of the probat~onofficer;
  11)      the defendant shall notify the probation officer within seventy-two hours ofbeing arrested or questioned by a law enforcement officer;
  12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and
  13)      as directed by the robation officer, the defendant shall notify,third parties of risks that may be occasioned by the defendant's criminal
           record or           histoly or character~st~cs and shall permlt the probat~onofficer to make such not~ficat~ons       and to confirm the
           defendant s compliance with such notification requirement.
A 0 2450
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            i R c r 06/05) Judcrncnt in a Crtminal Case
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                                  SPECIAL CONDITIONS OF SUPERVISION
 X The defendant shall cooperate in the collection of DNA as directed by the probation officer

 X The defendant shall submit his person, residence, real property, place of business, computer, or vehicle to a search,
 conducted by the United States Probation Officers at a reasonable time and in a reasonable manner, based upon
 reasonable suspicion of contraband or evidence of a violation of a condition of supervision. Failure to submit to a search
 may be grounds for revocation. The defendant shall inform any other residents that the premises may be subject to a
 search pursuant to this condition.

 X The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
 commencement of the term of supervised release. The defendant shall pay the fine in installments of $10.00 per month or
 ten percent of his net monthly income whichever is greater.

 X The defendant shall provide the probation officer and the Financial Litigation Unit of the United States Attorney's Office
 with access to any requested financial information. The defendant is advised that the probation office may share financial
 information with the Financial Litigation Unit.

  X The defendant shall apply all monies received from income tax refunds, lottery winnings, judgments, and/or any othel
  anticipated or unexpected financial gains to the outstanding court-ordered financial obligation. The defendant shall
  immediately notify the probation officer of the receipt of any indicated monies.

 X The defendant shall participate as directed and approved by the probation officer in treatment for narcotic addiction, drug
 dependence, or alcohol dependence, which includes urinalysis or other drug detection measures and which may require
 residence andlor participation in a residential treatment facility. Any participation will require complete abstinence from all
 alcoholic beverages. The defendant shall pay for the costs associated with substance abuse counseling andlor testing
 based on a co-pay sliding fee scale approved by the United States Probation Office. Co-pay shall never exceed the total
 costs of counseling.
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           Sheet 5 C r i m i n a l Monetary Pellalties
                                                                                                         J u d g m e n t Page   - of
                                                                                                                                5
                                                                                                                                -               -
                                                                                                                                               i.n
DEFENDANT: TAD W. ABSHER
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                                                     CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6,

                                                                                                                Restitution
 TOTALS                                                                                                       $ 0.00



      The detern~inationof restitution is deferred until     -. An Amended Judgment in a Criminal Case ( A 0 245C) will he entered
      after such determination.

      The defendant must make restitution (including community restitution) to the following payees in the amount listed below

      If the defendant makes a partial payment, each pa ee shall receive an approximately ro ortioned ayment, unless specified otherwise in
      the priority order or percentage payment c o l u m n ~ e l o w .However, pursuant to 18 Lfs.8. 5 3 6 6 4 0 , all nonfederal vlctlms must be p a ~ d
      before the United States is p a ~ d .

                                                                                                  Restitution Ordered




 TOTALS                                   $                      000            $                       0.00


       Restitution amount ordered pursuant to plea agreement $

       The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 9 3612(f). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. 9 3612(g).

       The court determined that the defendant does not have the ability to pay interest and it is ordered that:
       !$ the interest requirement is waived for the              fine          restitution.
           the interest requirement for the               fine         restitution is modified as follows:



 * Find~ngsfor the total amount of losses are re uired under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
 September 13, 1994, but before April 23, 199%.
A 0 2458
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           Sheet 6   Schedule ofPaymcnts
                                                                                                        J u d g m c n l Pagc   6   oC          10
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                                                    SCHEDULE OF PAYMENTS

 IIavlng assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

 A    @ Lump sum payment of $                                due immediately, balance due

                 not later than                                 , or
           &jf in accordance                 C,       D,          E, or    d    F below; or

 B         Payment to begin immediately (may he combined with              C,           D, or       F below); or

 C         Payment in equal                   (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                        (eg., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

 D         Payment in equal                        (e.g., weekly, monthly, quarterly) installnients of $                    over a period of
                            (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
           t e r n of supelvision; or

 E         Payment during the term of supesvised release will commence within                  (eg., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F         Special instructions regarding the payment of criminal monetary penalties:

            While on supervised release, the defendant shall make monthly payments in the amount of $10.00 or ten percent
            of his net monthly income, whichever is greater, toward his fine.




 Unless the court has express1 orderedotherwise, ifthis judgment imposes imprisonment, a ment of criminalmonetaly penalties is due duriu
 imprisonment. All crlminaymoneta penalties, except those payments made throug! t t e Federal Bureau of Prisons' Inmate ~ i n a n c i j
 Responsibility Program, are made to %e clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



      Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




      The defendant shall pay the cost of prosecution.

      The defendant shall pay the following court cost(s):

      The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the follow~ngorder: (1 assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
                                                      1.
( 5 ) fine interest, ( 6 ) community restltutlon, (7) pena tles, and (8) costs, ~ n c l u d ~ ncost
                                                                                                g of prosecution and court costs.
